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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                      Plaintiff,

       v.                                           No. 1-23-cv-01599-ABJ-ZMF

BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                     Defendants.



                                   JOINT STATUS REPORT

       Pursuant to the Court’s direction at the October 13 hearing, Plaintiff Securities and

Exchange Commission (“SEC”), Defendants BAM Management US Holdings Inc. and BAM

Trading Services Inc. (collectively, “BAM”), Binance Holdings Limited (“Binance”) and

Changpeng Zhao respectfully submit this Joint Status Report.

I.     BAM-Related Discovery

       A. Document Discovery

               i. SEC’s Position

       At the October 13 hearing the Court directed BAM to make “robust” rolling productions

within two weeks, and to provide written confirmation of the scope and timing of all productions

and other responses in connection with each of the requests the SEC sent BAM on September 21

(“September 21 Requests”). See Oct. 13, 2023 Tr. pp. 26: 23-25 – 27: 1-3; 28: 4-15. The Court

also directed that, to the extent BAM believed a request to be overbroad, for BAM to put a “fine
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point” on how to address the question presented in the request. Oct. 13, 2023 Hr’g Tr. p. 31: 7-

12. In short, BAM is required to provide a “crystallized position as to what it is they want to

produce and what they don’t want to produce,” id. p. 69, because “generic overbreadth and

burden” objections “are not going to carry the day.” Id. p. 17.

       BAM’s first production since the hearing came late in the evening on Friday, October 27,

which the SEC has only been able to begin processing and reviewing. In the production cover

letter, BAM represented it was continuing to search for responsive documents, without

specifying the scope or timing of the search or production. In addition, BAM raised objections

to certain of the SEC’s targeted requests, claiming they are overly broad and unduly burdensome,

without further specification. The parties held a meet and confer call on October 30 to discuss

the scope of that production and BAM’s ongoing searches for responsive documents but were

not able to resolve open questions regarding the productions.

       In the Joint Status Report, BAM has articulated that it plans to commit to search for and

produce by November 13 responsive documents to all but two of the SEC’s document and

communications requests, but has also suggested that some requests may be too broad or

burdensome, again without explaining why.

       As to the agreed inspection of BAM’s relevant systems and software, the SEC has

identified to BAM counsel the systems and software that would be subject to the proposed

inspection. Consistent with the discussion during the recent hearing, the SEC requested a meet

and confer to discuss the manner and means of execution to ensure an efficient and effective

process. The SEC continues to reserve its request for source code, particularly if the inspection

does not provide the information necessary to assess the custody and control of the private keys.




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       In short, given the timing of BAM’s recent production, and BAM’s failure to provide the

SEC with its production plan for each of the SEC’s requests as directed by the Court (see, e.g.,

Oct. 13, 2023 Hr’g Tr. 40-42) or the basis for any of its current or potential future objections, the

SEC has limited ability to provide a fulsome position in this status report as to where the parties

stand on the current status of BAM’s productions. The SEC can confirm that its requests are still

not satisfied, and it lacks even a general sense of what documents or communications it should

expect in response to various outstanding discovery requests, or what custodians or data sources

are being searched. For those communications requests for which BAM has produced

documents, the productions have been minimal, and BAM has not confirmed these productions

are complete. Moreover, during the recent meet and confer, BAM stated it was still evaluating

whether it had possession, custody, and control of certain communications about which its own

witnesses had testified in depositions.

       In light of the current status, the SEC believes that even with BAM’s promise to produce

additional documents and communications by November 13, there will likely be discovery issues

that remain unresolved. The SEC believes a conference with the Court after November 13, when

BAM expects to complete its production, would be helpful to address any outstanding issues that

the parties cannot resolve. The SEC is ready to coordinate with the Court and the Defendants on

the date of such hearing so that it is soon after November 13.

               ii. BAM’s Position

       Following the Court conference on October 13, 2023, BAM has made substantial

progress in responding to the Document and Communications Requests. On October 27, 2023,

BAM made a document production consisting of 3,675 pages of documents responsive to 14 of

the SEC’s Document Requests and two of the SEC’s Communications Requests. In addition,


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BAM informed the SEC that it has been unable to locate any documents responsive to three

Document Requests and one subsection of a Document Request after a reasonable search. To

date, BAM has produced documents or confirmed that it was unable to locate responsive

documents for approximately 65% of the SEC’s Document Requests.

       BAM has also made substantial progress in responding to the SEC’s other

Communications Requests. As BAM informed the SEC in its October 27 letter, BAM is in the

process of reviewing email data collected from the Company’s Chief Information Security

Officer (“CISO”). BAM has agreed to produce all responsive, non-privileged documents

identified through a reasonable search of that data on or before November 13, 2023.

Furthermore, as BAM informed the SEC on the October 30 call, BAM is continuing to search for

communications over Slack and other chat programs that are responsive to the Communications

Requests. BAM believes that these documents will adequately address the SEC’s

Communications Requests that have not been previously addressed through BAM’s document

productions.

       As instructed by the Court, BAM has also identified to the SEC the Requests to which it

is objecting. In an effort to narrow BAM’s objections to the Document Requests, BAM’s

October 27 letter identified documents and deposition testimony responsive to Document

Request Nos. 1 and 2. BAM continues to object to Document Request Nos. 30 and 31, which

seek highly sensitive source code, but, as noted, otherwise is making an effort to search for and

produce documents responsive to each of the SEC’s Document Requests. BAM also informed

the SEC in its October 27, 2023 letter that it objects to Document Request Nos. 39 and 40 on the

grounds that they are overly broad and unduly burdensome, and identified the documents that

BAM has produced to date which it believes satisfied those Requests. Requests 39 and 40 seek


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reconciliation information concerning corporate and customer fiat and digital assets on a monthly

basis. BAM produced a detailed accounting of BAM’s corporate and customer assets as of June

30, 2023 on August 7, 2023 pursuant to the Consent Order. This was a significant endeavor, and

BAM continues to believe that the SEC’s request for similar information on a monthly basis is

overly broad and unduly burdensome.

       BAM is currently performing targeted searches for each one of the Document and

Communications Requests to which it has agreed to produce documents, and it expects to

produce documents responsive to most, if not all, of the remaining Document Requests (or

inform the SEC that it has been unable to locate responsive documents after a reasonable search)

on or before November 13, 2023. BAM believes that this production plan is entirely consistent

with the Court’s instructions, and does not agree with the SEC’s suggestion that BAM has failed

to provide any information that the Court required.

       Because of the recent reductions in force at BAM, BAM anticipates that there may be a

small number of Requests for which BAM may require additional time to identify responsive

documents, or for which it would be unduly burdensome for BAM to produce responsive

documents. To the extent BAM determined that it requires additional time to produce

documents in responsive to any of the Requests, or that it would be unduly burdensome to do so,

BAM proposes that the parties meet and confer after November 13, 2023 to discuss alternative

means of providing the information sought by those Requests. To be clear, BAM is not currently

aware of any specific Requests that it does not expect to satisfy by November 13, 2023.

However, given the number and breadth of the Requests contained in the SEC’s September 21,

2023 letter, BAM believes that it is prudent to consider how to proceed if it finds that it is unable

to produce documents in response to any of the SEC’s requests without undue burden.


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       Finally, BAM facilitated the SEC’s inspection of a shard device on October 24, 2023.

During a meet and confer on October 18, 2023, BAM also confirmed that it is willing to allow

the SEC to conduct an inspection of certain other of its systems and provided an overview of

what it expected that inspection would entail. The SEC indicated that it would discuss the

inspection internally and provide BAM with its position as to its desired scope of the inspection.

Although the SEC states above that it has provided its expectations concerning the scope of the

inspection, this is incorrect. The SEC has not yet provided its position and on the evening of

October 25, proposed another meet and confer on this issue.

       BAM agrees that it would be productive to hold a conference with the Court after BAM

completes its production of documents in response to the Requests to the extent there any open

issues. However, BAM believes that it would be more productive to hold such a conference on

or after November 20, 2023 (one week after BAM expects to complete or substantially complete

productions in response to the SEC’s Requests) to allow the SEC to review BAM’s productions,

and allow the parties to discuss any issues that may arise.

       B. Depositions

                i. Joint Update

       In its September 21 letter, the SEC requested the depositions of eight BAM employees in

addition to a 30(b)(6) deposition. The SEC conducted the first of those depositions on October

24, 2023. The next deposition is scheduled for October 31, 2023, and the parties are working to

schedule depositions for the other witnesses, with all but a few dates confirmed. In addition, the

parties are meeting and conferring with regard to the 30(b)(6) topics. On October 18, 2023,

BAM informed the SEC that it plans to designate testimony given by BAM witnesses as 30(b)(6)

testimony for certain of the topics, and that the parties can then meet and confer with regard to


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topics that have not yet been addressed by such designations or for which additional testimony is

necessary.

       The SEC has not yet agreed to this retrospective approach as consistent with Rule

30(b)(6), but will continue to confer with BAM on this issue after BAM provides its proposed

designations, which BAM anticipates providing this week. Consistent with the Court’s direction

at the September 18 hearing, the parties will make submissions to the Court stating their

positions on the SEC’s pending requests for the depositions of BAM’s former CEO and CFO

after the other agreed depositions have been completed.1

       C. Interrogatories

               i. SEC’s Position

       In response to the SEC’s Motion to Compel, BAM agreed that it would supplement its

prior interrogatory response See Resp. Mot. to Compel, at 16, Dkt. No. 107. Likewise, during

the October 13 hearing, BAM’s counsel indicated that they would provide supplemental

interrogatory responses. See Oct. 13, 2023 Tr. pg. 66: 14-25. Although BAM’s counsel

represented that it would provide a timeline for these responses within two weeks, BAM has not

yet provided such a timeline. See Oct. 13, 2023 Tr. pg. 67: 16-25.


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  The SEC reserves the right to raise the issue sooner based on information revealed during
ongoing discovery. During a recent deposition, a witness testified that Jasmine Lee was part of
the same reduction in force as BAM’s former CEO, and she will be departing (or has already
departed) the Company. In the meantime, she is no longer serving as BAM’s CFO, and BAM
has an acting CFO. It would therefore appear that BAM’s reliance upon the Apex doctrine in
support of its objections to Ms. Lee’s deposition no longer apply, although the SEC will seek
further details form BAM on this issue.

BAM does not believe that the SEC’s position that the Apex doctrine no longer applies is an
accurate statement of the law. Nor does BAM believe that any additional depositions are
necessary given that BAM has already agreed to at least 13 depositions (including a 30(b)(6)
deposition) and, to date, the SEC has yet to identify any evidence that BAM’s customer assets
have been misused in any way.
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               ii. BAM’s Position

         BAM has prioritized responding to the SEC’s Document and Communications Requests

and preparing 8 witnesses for depositions. BAM anticipates being in a position to update its

interrogatories by November 20, 2023.

       D. Part IV of Consent Order

                i. SEC’s Position

       Part IV of the Consent Order requires BAM to, among other things, provide information

about “each” wallet and account holding company or Customer Assets, and corresponding

balances. Consent Order, IV. By letter dated October 27, BAM informed the SEC that it will be

supplementing its verified accounting with wallet-level balances for the deposit wallets of its

customers this week. By letter dated October 30, the SEC requested that BAM ensure that this

anticipated production include the list of all customers, their user IDs, and their customer deposit

wallet addresses. The SEC also reiterated its request for the individual staking information (as

required under Section IV) and related financial information to inform the analysis. The parties

will continue to meet and confer on these issues after BAM makes its production.

       E. BAM’s Position

       In BAM’s verified accounting, BAM provided account level data for all of BAM’s hot

wallets and cold wallets, and aggregate data for all of BAM’s deposit wallets. As BAM explained

in its August 7, 2023 letter, BAM produced this data in the aggregate because there are almost 1.5

million such wallets on BAM’s platform. The SEC has requested that BAM produce account level

data for BAM’s deposit wallets.




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       Although BAM does not agree with the SEC’s assertions that account level data for BAM’s

deposit wallets is necessary, BAM has agreed to provide account level data for all of its deposit

accounts. BAM expects to be able to produce this data by November 6, 2023.

II.    Binance/Zhao-Related Discovery

       A. SEC’s Position

       In accordance with the Court’s guidance in the September 18 hearing, on October 5, the

SEC sent Defendants Binance Holdings Limited (“Binance”) and Changpeng Zhao a targeted list

of specific documents it requested that Binance and Zhao produce during the ongoing

discussions with BAM while reserving the SEC’s right to seek additional documents responsive

to the SEC’s First Requests for Production of Documents. The targeted list of requests are not

new, but, rather, a subset of priority requests that fall within the SEC’s First Requests for

Production of Documents served on August 3, seeking discovery that BAM claims it does not

have within its possession, custody, and control. The SEC, Binance, and Zhao held a meet and

confer call on October 19 to meet and confer on these requests. As the SEC explained to

Binance during the recent meet and confer, the requested discovery addresses the critical issues

of custody and control of BAM and Customer Assets, and the software and related technology

developed and operated by Binance governing the custody, control, and transfer of assets; not

“hypothetical software security risks.” Binance’s counsel expressed willingness to produce

documents to address the core concerns of Binance’s control over BAM’s assets, but has not

committed to any specific scope or timing of such production. Testimony to date continues to

suggest that Binance and/or Mr. Zhao possess documents and other information that may be

dispositive of the key issues under the Consent Order and now before the Court. Therefore, the

SEC requests a conference with the Court to discuss the scope and timing of Binance’s document


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productions, to be scheduled on a date soon after November 13 that is determined in coordination

with the Court and the Defendants.2

       B. Binance and Zhao’s Position

       BHL would be pleased to address the Court at any time but respectfully submits that it

would be most practical to afford BHL a reasonable time to conduct further diligence on the

SEC’s discovery requests first. Although the parties had previously agreed that discovery would

be sequenced to focus first on BAM, BHL offered at a hearing before this Court on September

18, 2023 to consider targeted requests from the SEC while discovery as to BAM was ongoing.

The SEC served BHL with revised requests about two-and-a-half weeks later, on October 5.

BHL met and conferred in good faith with the SEC on October 19 and is working to address the

SEC’s new discovery requests, as clarified by the parties’ conferral.

       The SEC nonetheless seeks a hearing “soon after November 13,” implying that BHL

already had ample time to assess its requests before the parties met and conferred about them

even once. Any suggestion that BHL should already know what it will produce and when

ignores the parties’ earlier agreement to sequence discovery, the Court’s subsequent input on the

proper scope of these initial proceedings, and significant changes to the SEC’s requests. The

SEC’s initial requests sought 35 broad categories of documents, vastly exceeding the scope of

discovery permitted under the Consent Order. And sweeping as they were, the SEC’s initial




2
  The SEC continues to reserve the right to seek further relief from the Court if the parties are
unable to resolve pending issues regarding Binance’s productions in response to Section IV of
the Consent Order. See Mot. to Compel Memo at 15 n.4. Pending issues include Binance’s
continued withholding of information required under Section IV pending entry of a protective
order.
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requests did not request the production of BHL’s “source code”—which is the central focus of

many requests the SEC served on October 5.3

         Under the circumstances, it is unreasonable to expect that BHL could have determined

the best means of answering the SEC’s new requests, which largely demand that BHL disprove

hypothetical software security risks, in just eleven days—less time than it took the SEC to send

its revised requests. It is unreasonable to expect that BHL could have determined the best means

of answering the SEC’s new requests, which largely demand that BHL disprove hypothetical

software security risks, in just ten days—far less time than it took the SEC to send its revised

requests. BHL, thus, proposes that the parties continue diligent work on this matter, submit

another joint status report on or before November 21, 2023, and advise the Court on their views

as to whether a hearing would be productive at that time.

III.     Proposed Protective Order

         Consistent with the Court’s direction, the parties will soon file a proposed Protective

Order and related motion that limits the scope of the previously filed Protective Order to

information disclosed pursuant to the Consent Order.




3
 BHL timely produced the information required under Section IV of Consent Order and has also
answered several follow up requests, including most recently on September 11, 2023. Aside
from ongoing consideration of whether to produce additional personal identifiable information
associated with already-identified accounts, as referenced in note 2, the SEC has not asked for
further information, and BHL is aware of no pending issues.
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Dated: October 31, 2023               Respectfully submitted,

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